













Opinion issued July 15, 2004








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-02-00828-CV
____________

JOY RESOURCES, INC., Appellant

V.

SEITEL DATA, LTD., Appellee




On Appeal from the 234th District Court
Harris County, Texas
Trial Court Cause No. 2001-57139




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss the appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the cause is dismissed.  Tex. R. App.
P. 42.1(a).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Hanks.


